[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
MEMORANDUM OF DECISION
The issue of whether a mortgagee is entitled to a prejudgment attachment on the property of a mortgagor prior to the entry of a deficiency judgment in a foreclosure action was addressed in Union Trust Company v. River Knoll Development, Inc., CV 90 0109197, pending in this court.
It was held in that case that a mortgagee could apply for a prejudgment remedy during the pendency of a foreclosure action, and in anticipation of a deficiency. Although no Connecticut case on point was located, the ruling was based in part on the broad wording of General Statutes S 52-279, which permits prejudgment remedies "upon all complaints," with certain exceptions, among which foreclosures were not mentioned.
Note was also taken of Moldenhauer v. Moldenhauer,10 Conn. Sup. 336, 337-38 (1942)("[i]t is well settled in this state that all property of a debtor may be attached unless expressly exempted by statute").
Therefore, the hearing on plaintiff's application for a prejudgment remedy of attachment will be resumed on Thursday, June 27, 1991, at 11 a.m., 123 Hoyt Street, CT Page 5140 Stamford.
The parties should be prepared to present evidence regarding probable cause and the equity of the defendant in the property sought to be attached.
So Ordered.
Dated at Stamford, Connecticut this 14th day of June, 1991.
William B. Lewis, Judge.